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 8                                UNITED STATES DISTRICT COURT
 9                               NORTHERN DISTRICT OF CALIFORNIA
10                                      OAKLAND DIVISION
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12   PHOENIX TECHNOLOGIES LTD., a                Case No. 15-cv-01414-HSG
     Delaware corporation,
13                                               [PROPOSED] FINAL JUDGMENT
                           Plaintiff,
14
            v.
15
     VMWARE, INC., a Delaware corporation,
16
                           Defendant.
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18   VMWARE, INC., a Delaware corporation,

19                         Counterclaimant,

20          v.

21   PHOENIX TECHNOLOGIES LTD., a
     Delaware corporation,
22
                           Counterdefendant.
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     [PROPOSED] FINAL JUDGMENT
     CASE NO. 15-cv-01414-HSG
       Case 4:15-cv-01414-HSG Document 458 Filed 08/03/17 Page 2 of 2



 1          In accordance with the jury’s verdict in this matter, as rendered on June 12, 2017,

 2   IT IS HEREBY ORDERED THAT Final Judgment is entered in favor of defendant and

 3   counterclaimant VMware, Inc., and against plaintiff and counterdefendant Phoenix Technologies

 4   Ltd.

 5          IT IS SO ORDERED.

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 7   Dated: 8/3/2017
                                                          HON. HAYWOOD S. GILLIAM, JR.
 8                                                           United States District Judge
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     [PROPOSED] FINAL JUDGMENT
     CASE NO. 15-cv-01414-HSG
